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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION                          )
 VOTING SYSTEMS, INC., and DOMINION                   )
 VOTING SYSTEMS CORPORATION,                          )
                                                      )
           Plaintiffs,                                )
                                                      )
               v.                                     )   Case No. 1:21-cv-00445-CJN
                                                      )
 MY PILLOW, INC., and MICHAEL J.                      )
 LINDELL,                                             )
                                                      )
          Defendants.                                 )

                    DEFENDANTS’ MOTION FOR STATUS CONFERENCE

          Having attempted unsuccessfully to reach agreement with Plaintiffs’ counsel on a Joint

Motion, Defendants My Pillow, Inc. (“MyPillow”) and Michael J. Lindell (“Lindell”) (collectively

“Defendants”) respectfully move this Court for a status conference in order to seek guidance from

the Court on various issues related to this case. This Motion is filed without prejudice to

jurisdictional contentions Defendants may assert based on Defendants having filed Notices of

Appeal.

                                             1.

          On August 11, 2021, the Court issued a Memorandum Opinion and Order denying

Defendants’ Motions To Dismiss Dominion’s complaint on the ground, inter alia, that Dominion’s

defamation lawsuit violated the First Amendment as applied in New York Times v. Sullivan. (Dkt.

53, 54)

                                             2.

          On August 23, 2021, the Court extended the time for Defendants to file an Answer to

September 24, 2021. (8/23/21 Minute Orders)



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                                              3.

       On the following day, August 24, 2021, MyPillow moved the Court to modify its August

11, 2021, Order and Memorandum Opinion to certify two proposed questions concerning the

application of New York Times v. Sullivan for interlocutory appeal pursuant to 28 U.S.C. 1292(b).

(Dkt. 58) Lindell joined in MyPillow’s motion on August 25, 2021. (Dkt. 59) By order, the Court

granted the Plaintiffs an unopposed extension of time to file a memorandum in opposition to the

1292(b) motion, and the Plaintiffs did so on September 21, 2021. (Dkt. 72) Defendants filed a

reply memorandum on September 28, 2021 (Dkt. 76, 77). Defendants’ 1292(b) motion for

modification is pending.

                                              4.

       On September 9 and 10, 2021, Defendants filed Notices of Appeal to the Court of Appeals

for the District of Columbia Circuit from the Court’s denial of the Defendants’ Motion To Dismiss

on the ground that the denial of the Motion To Dismiss was a “collateral order” subject to appellate

review under 28 U.S.C. 1291. The Notices cited relevant precedents of the Supreme Court and the

Court of Appeals for the District of Columbia Circuit. The Notices also declared that they were to

be withdrawn if this Court certified the denial for interlocutory review and if the Court of Appeals

agreed to hear the appeal. (Dkt. 64, 66)

                                              5.

       On September 23 and 24, 2021, Defendants each filed a Notice in Lieu of Filing Answer,

noting that filing an Answer on September 24 would be premature in light of the pendency of the

Motion for Interlocutory Appeal and the Notices of Appeal that had been accepted by the Court of

Appeals, and reserving the right to file an Answer after appellate issues are resolved. The Notice




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declared that if the Court ordered that an Answer be filed, the Defendants would file an Answer.

(Dkt. 74, 75)

                                             6.

       On September 17, 2021, the parties in US Dominion, Inc. et al v. Giuliani, No. 1:21-cv-

00213-CJN, submitted a Joint Meet and Confer Report pursuant to Local Civil Rule 16.3. (No.

1:21-cv-00213-CJN, Dkt. 40) In that report, Dominion stated that the Giuliani case was related to

other matters pending before this Court and suggested that discovery be consolidated among those

matters and a Scheduling Order be entered. Neither MyPillow nor Lindell was served with this

Report nor did either have knowledge of Dominion’s request. In response to Dominion’s request,

this Court issued a Minute Order in US Dominion, Inc. et al v. Giuliani, No. 1:21-cv-00213-CJN,

but not in Defendants’ case, ordering the Parties to submit an updated Joint Meet and Confer

Report once the Parties in all related cases have had the opportunity to discuss a Joint Scheduling

Order. (No. 1:21-cv-00213-CJN, 9/27/21 Minute Order) On September 30, 2021, the Court entered

a Minute Order in US Dominion, Inc. et al v. Powell et al, No. 1:21-cv-00040-CJN, but not in

Defendants’ case, ordering the Parties to submit a Joint Meet and Confer Report once the Parties

in all related cases have had the opportunity to discuss a Joint Scheduling Order. (No. 1:21-cv-

00040-CJN, 9/30/21 Minute Order)

                                             7.

       Plaintiffs’ counsel asked Defendants’ counsel and counsel for defendants in the Giuliani

and Powell cases to schedule a meeting to discuss the terms of a Joint Scheduling Order. Plaintiffs

and defendants in Giuliani and Powell set a call for Thursday, October 7, 2021. In correspondence

that is attached hereto as Exhibits I and II, MyPillow’s and Lindell’s counsel indicated that their




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participation at this time would be premature because their case is at a different stage than the

Giuliani and Powell cases.

                                              8.

       Plaintiffs and Defendants disagree as to the current status of this case. The nature of their

disagreement is reflected in Exhibits I and II.

                                              9.

       The parties have agreed that a conference with the Court is the most efficient way to seek

clarity on these issues, although they have not agreed on the text of a Joint Motion. Accordingly,

Defendants respectfully request that the Court set a conference to discuss the status of this case

while issues regarding appeal are pending.



Dated: October 7, 2021

                                                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of October, 2021, I will electronically file the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand will serve

counsel for the parties.

                                                      /s/ Andrew D. Parker
                                                      Andrew D. Parker




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